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                                                             U.S. Department of Justice      EXHIBIT B
                                                             Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             December 19, 2022

Mr. Leejamahl A. Washington
c/o Sarah Liesen, Esquire
Law Offices of Edelman, Liesen & Myers
208 W. Linwood Blvd.
Kansas City, MO 64111

Re: EEOC Charge Against Unified Government of Wyandotte County, Kansas City, Kansas Fire
Dept.
No. 563202201253

Dear Mr. Washington:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
  The investigative file pertaining to your case is located in the EEOC Kansas City Area Office,
Kansas City, KS.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                         Sincerely,

                                                       Kristen Clarke
                                                  Assistant Attorney General
                                                    Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Kansas City Area Office, EEOC
  Unified Government of Wyandotte County, Kansas City, Kansas Fire Dept.
